       Case 21-42215-mxm11                 Doc 422-2 Filed 06/24/22 Entered 06/24/22 14:16:42                               Desc
                                                Service List Page 1 of 3
                                               Bison Investors, LLC                               Bison Investors, LLC
FLEXIBLE FUNDING LTD.                          c/o M. Jermaine Watson                             c/o William F. Savino
LIABILITY CO., et al., 1                       Cantey Hanger LLP                                  Woods Oviatt Gilman LLP
Service List                                   600 West 6th St., Suite 300                        1900 Main Place Tower
                                               Fort Worth, TX 76102                               Buffalo, NY 14202

                                               Medalist Partners Opportunity Master
Bison Investors, LLC                           Fund II-A, LP c/o Brent R. McIlwain                Pahl & McCay
c/o Levinson, Arshonsky                        Holland & Knight LLP                               225 West Santa Clara St.
15303 Ventura Blvd.                            One Arts Plaza                                     Suite 1500
Suite 1650                                     1722 Routh St., Suite 1500                         San Jose, CA 95113
Sherman Oaks, CA 91403                         Dallas, TX 75201
Medalist Partners Opportunity Master                                                              Capper Investment Company, LLC
Fund II-A, LP                                                                                     c/o Norman Capper
                                               C Douglas Gregory
Attn: John Slonieski                                                                              The Frances Capper Marital Trust FBO
                                               6207 Riverchase Village Dr.
777 Third Ave., Suite 1402                                                                        Frances Capper, c/o Norman Capper
                                               Kingwood, TX 77345
New York, NY 10017                                                                                1101 Fifth Avenue #350
                                                                                                  San Rafael, CA 94901

                                               Carrie R. Mitchell, Esq.
Bill Hansen                                                                                      Hanson Bridgett LLP
                                               PO Box 849
1322 So. 2670 E                                                                                  425 Market St., 26th Floor
                                               Canton, TX 75103-1011
St. George, UT 84790                                                                             San Francisco, CA 94105



Carle Mackie Power & Ross LLP                                                                    Flexible Support Group, LLC
                                               Chen Te Liao & Chi Wei Liao
100 B St., Suite 400                                                                             Attn: Lizabeth Ardisana
                                               940 Camino Verde Cir
Santa Rosa, CA 95401                                                                             2226 Garrison St.
                                               Walnut Creek, CA 94597
                                                                                                 Dearborn, MI 48124


                                               Instapay Flexible, LLC
                                                                                                 Corporation Service Co.
Cheng Chin Liao                                Flexible Funding Ltd. Liability Co.
                                                                                                 251 Little Falls Dr.
6163 Sagebrush Bend Way                        121 San Anselmo Ave., Box 2604
                                                                                                 Wilmington, DE 19808
San Diego, CA 92130                            San Anselmo, CA 94979



                                               Focus Management Group
James Burke                                                                                      Jerry & Rosemary Fong
                                               6585 N Avondale Ave.
422 Fulton St.                                                                                   7700 Marker Rd.
                                               Chicago, IL 60631
Camarillo, CA 93010                                                                              San Diego, CA 92130


Fresh Packing Corp.
                                               \Cort Business Services
c/o Raymond Perez, Esq.                                                                          Ropes & Gray LLP
                                               5432 West Chester Rd.
5161 Pomona Blvd., Suite 208                                                                     PO Box 70280
                                               Westchester, OH 45069
Los Angeles, CA 90022                                                                            Philadelphia, PA 19176-0280



Embarcadero Financial Group
                                               Prime Financial Recruiting                        Steve Sala
Attn: David Rockman
                                               4713 Kyle Dr.                                     9876 E Gamble Ln.
1 Embarcadero Center, #1540
                                               Balch Springs, TX 75180                           Scottsdale, AZ 85262
San Francisco, CA 94111


Jan Marcus Capper                Keystone Marketing
                                                                                   Umpqua Bank
Steve Capper                     Bill Hansen
                                                                                   7777 Alvarado Road, Suite 501
1350 Butterfield Rd.             1322 South 2670 East St.
                                                                                   La Mesa, CA 91942
San Anselmo, CA 94960            George, UT 84790



   1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, as applicable,
   are: Flexible Funding Ltd. Liability Co. (4495) and Instapay Flexible, LLC (7648).
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Robinn Mikalic                            Scott Dirvonas                    2Cocom Skyvia.com
1949 Lakeside Dr.                         PO Box 665                        2230/4 Na Zertvach St.
Harveys Lake, PA 18618                    Edwards, CO 81632                 Prague, Czech Republic 180 00



                                          Maher Accountancy
Keystone Marketing LLC                                                      Amelia Caroline Dipprey
                                          John W. Maher
777 E. 700 So. St.                                                          7320 Spring Ranch Ct.
                                          1101 Fifth Ave., Suite 200
George, UT 84790                                                            Godley, TX 76044
                                          San Rafael, CA 94901


Omninet CV Townsgate, LLC
c/o Scot Pierce                           Terrence A. Greiner PC            First Corporate Solutions, Inc.
Whitaker, Chalk, Swindle, et al.          25 South Cayuga Dr.               914 S St.
301 Commerce St., Suite 3500              Williamsville, NY 14221           Sacramento, CA 95811
Fort Worth, TX 76102

One Embarcadero Center Venture            The Original Mowbray’s Tree
c/o Douglas B. Rosner                     Service Incorporated              Hellosign
Goulston & Storrs, PC                     c/o Paul D. Moak                  1800 Owens St.
400 Atlantic Ave.                         1300 Post Oak Blvd., Suite 2000   San Francisco, CA 94158
Boston, MA 02110                          Houston, TX 77056


The Steve & Jyoti Elias Trust & Steve
                                          Paul DeLuca                       Mahonri Jared Cruz Velazquez
Elias
                                          4900 Gage Ave., Apt. 347          7179 Richland Rd.
109 Mariner Green Dr.
                                          Fort Worth, TX 76109              Richland Hills, TX 76118
Corte Madera, CA 94925


Voco Vilya, Inc.                          Ward & Smith, P.A.
                                                                            Raintank, Inc.
& Charisse Castagnoli                     c/o Lance P. Martin, Esq.
                                                                            29 Broadway, 31st Floor
6905 Peppervine Cove                      PO Box 2020
                                                                            New York, NY 10006
Austin, TX 78750                          Asheville, NC 28802-2020


Mailchimp
                                          Adobe Creative Cloud              Truckstop.com
675 Ponce De Leon Ave NE
                                          345 Park Ave.                     222 N Plymouth Ave.
Suite 5000
                                          San Jose, CA 95110-2704           New Plymouth, ID 83655
Atlanta, GA 30308



Atlassian                                 CNA Insurance                     Zapier, Inc.
303 Colorado, Suite 1600                  151 N. Franklin St., Floor 9      548 Market St., #62411
Austin, TX 78701                          Chicago, IL 60606                 San Francisco, CA 94104



                                                                            Chris Sullivan
J&K Services & Power Washing LLC          Go Transport
                                                                            Diamond McCarthy, LLP
2804 Bethel Rd.                           2020 Herbert
                                                                            150 California St., Suite 2200
Weatherford, TX 76087                     Salt Lake City, UT 84108
                                                                            San Francisco, CA 94111



Paddle.net                                Lucas Ross Hodges                 Webflow.com
3811 Ditmars Blvd., Suite 1071            5239 Baldwin Lane                 398 11th St., 2nd Floor
Astoria, NY 11105-1803                    Marietta, GA 30068                San Francisco, CA 94103
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RingCentral, Inc.                        Prime Financial Recruiting         TMS Cloud
20 Davis Drive                           4713 Kyle Dr.                      12381 Tonopah Ct.
Belmont, CA 94002                        Balch Springs, TX 75180            Apple Valley, CA 92308


                                                                            Internal Revenue Service
                                         City and County of San Francisco   Centralized Insolvency Operations
Wall Street Journal                      Tax Collector                      PO Box 21126
1211 Avenue of the Americas              Bureau of Dilenquent Revenue       Philadelphia, PA 19114-0326
New York, NY 10036                       San Francisco, CA 94120-7027


Texas Comptroller of Public Accounts
Lyndon B. Johnson State Office Bldg.     Texas Workforce Commission
111 East 17th St.                        101 East 15th St.
Austin, TX 78774                         Austin, TX 78778-001
